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                          IN T}{E LTNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION

UNITED STATES OF AMERICA                      )       CRII\,{INAL NO. 3:25-cr-778
                                              )
                                              )
                                              )
ROBERTJOHN MAY, III,                          )
a.k.a.'joebidennnn69".                        )
a.k.a. "Eric Rentling"                       )

        TI:{ITEI) STATES' I}RIEF I\ St PPORT OF }IOTIO\ FOR DETE\TION

       The United States of America. by and through Bryan P. Stirling, United States Attomey.

Assistant United States Attomeys J. Scott Matthews. Dean Secor. and Trial Attomey Austin M.

Berry, hereby files this brief in support of the Govemment's Motion fbr Detention of Defendant,

Robert John May, III, (May or Defendant) because Defendant poses a danger to the community

and a risk of nonappearance for future court proceedings.

                         FACTI..AL & PRO CEDURAL BACKGROI.iND

       On June 10,2025, a lederal grand iury indicted the defendant, Robert John May, III. on

10 counts of distribution of child pomography, in violation of I8 U.S.C. g 2252A(a)(2). He r+as

arrested on June 11.2025. The charges against Defendant are based upon his use ofa social

media application, Kik, to participate in multiple chat groups dedicated to the trading ofchild

pomography.

       On May 27,2024, Kikr sent a CyberTipline Report to the Narional Center for Missing

and Exploited Children (NCMEC), regarding child pomographyr (hereafter referred to as child



I Medialab/Kik is a social media company based
                                                  out of Los Angles. Califomia that operates the
Kik Messenger Application. The Kik Messenger Application is a chat application that allows
users to communicate. as well as share videos. and photographs both in group and person to
person settings.
                                                  I
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sex abuse material (CSAM)) b€ing transmitted via the social media platform. by Kik user:

"joebidennnn69" on March 31,2024, at 04:36:53 UTC.

       NCMEC flagged 50 files as CSAM. Some of the files were duplicated, however there

were 28 different videos containing CSAM. The CyberTiptine Report provided an AT&T

Intemet Protocol (IP) address as being used to download and share the CSAM. NCMEC

geolocated3 the IP address to West Columbia. SC (Lexington County). The South Carolina

Attomey General's OIfice assigned the CyberTipline Report to the Lexington County Sheriffs

Department in Lexington. SC.

       On June 27,2024.the Lexington County Sheriffs Office obtained a state search warrant

requesting all customer or subscriber information for the AT&T account associated with the IP

address. AT&T provided the billing partl, associated with IP address as May and the senice

address as May's residence in West Columbia- SC 29170 ("May family residence").

       On June 27, 2024, the Lexington County SherifF s Office obtained a South Carolina state

court search warrant rcquesting the contents of the Kik account related to usemame:

"joebidennnn69". On July 12,2024. Kik complied and provided the subscriber informalion for



2 Outside of the legal system. NCMEC chooses
                                                     to refer to child pomography images as Child
Sexual Abuse Material    (CSAM)     to most accurately reflect u'hat is depicted - the sexual abuse
and exploitation of children. "Child Pornography". as defined by congress, includes any visual
depiction. including any photograph. film. video. picture. or computer or computer-generated
image or picture. whether made or produced by electronic. mechanical. or olher means, ol
sexually explicit conduct where (A) the production ofsuch visual depiction involves the use ofa
minor engaging in sexually explicit conduct; (B) such visual depiction is a digital image.
computer images, or computer-generated images that is, or is indistinguishable from. that of a
minor engaging in sexually explicit conduct; or (C) such visual depiction has been created,
adapted, or modified to appear that an identifiable minor is engaged in sexually explicit conduct.
r8 u.s.c s 22s6(8).
r Geolocation is the identification of the real-world geographic
                                                                  location ofan object. This
identification is done by generating a set ofgeographic coordinares such a latitude and longitude
through GPS and using the coordinates to determine a meaningful localion.
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the account. The Kik user 'joebidennnn69" registered the account on March 30. 2024, al

01:42:44 UTC using a Samsung SM-G78IU1 An&oid smart phonea and provided an

unconfirmed email address. The above-referenced IP address was also used to register the Kik

account. The contenls of the account also contained 265 videos displaying CSAM. From March

30,2024until Apil4,2024, usemarne ' joebidennnn69'' sent or received approximately 1,147

messages with other Kik users. The messages discussed trading CSAM with other users.

       Kik provided the IP address that each user connected from for every message that was

sent, notjust a particular session. HSI analyzed those IP addresses and found that the vast

majority connect back to May either at his residence or his Verizon cell phone account.

Specifically, user 'Joebidennnn69" utilized Kik from a VPN 48 times, the Verizon account

associated with May's cell phone 67 times, and the May family residence Wi-Fi 958 times.

       Agents confirmed during surveillance of the residence, and again during the search ofthe

residence. that the Wi-Fi at the May residence was password protected. Thus, for the CSAM

activity on Kik to have been conducted by someone other than May, that person would have had

to know the Wi-Fi password. Similarly, someone would have had to possess May's cell phone to

have initiated the CSAM activity on Kik that utilized Verizon [P addresses-




a
 Kik Messenger stores the phone's make and model information using device identitiers and
system information. When the user installs and uses Kik on their phone. the app collects various
details about your device, which typically includes: (a) Device Infbrmation: This includes the
make and model of the device. operating system version, device identifiers (such as the device
ID and possibly IMEI), and other hardware characteristics. (b) System Information: Kik night
collect system-related information such as the type of operating system. version number. mobile
network information. and other technical details. This information is usually gathered during the
app installation and whenever the app runs. allowing Kik to optimize the app's performance for
different devices, troubleshoot issues. and pro.r,ide relevant updales.
                                                J
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       On August 5,2024, HSI and the South Carolina Law Enlorcement Division (SLED),

executed a federal search warrant at the May residence. During the search warrant. May

identified one phone as being his personal phone and signed a conditional consent to search form

so that HSI could access the phone and locate his attomey's phone number. That phone was

located next to a CPAP machine on a night-stand on the left side of the bed in the master

bedroom of the residence. A phone belonging to May's wife, Elisabeth Ruth Slawson, was

located on a night-stand on the right side of the bed. Ma1,'s phone and Slawson's phone are the

same model number of phone (Samsung SM-G78lUl Android smart phone) used to register the

Kik account bearing username 'joebidennnn69" according to Kik's records. Nothing was found

on Slawson's phone connecting it or Slawson with the receipt or distribution of CSAM. This

stands in contrast to May's phone as discussed below.

       The initial forensic analysis of the contents of May's phone yielded several items of

evidentiary value. An examination of the user dictionary- revealed it contained the terms

"joebidennnn" and the same email address that was used to register the Kik account for

usemame 'Joebidennnn69" on March 30,2024. HSI's forensic analysis also revealed that May's

phone contained evidence that the Kik application had been deleted from the device. May's

phone also contained a Telegram application and a Mega application at one point that were

subsequently deleted. Notably. Kik. Telegram, and Mega (as well as another application, ..Loki

Messenger")i were all deleted on April 4,2024,within seconds of each other. Importantly. in his

Kik chats. May discussed the use of Telegram and Mega with his fellow like-minded pedophiles.




5
  Loki Messenger is a decentralized anonymous messaging app that uses Si gnal's end-to-end
encryption. Lokinet's onion routing or proxy requests. and the Loki Stora ge Sen er
infrastruclure. See httos:// loki.networki 2019il2t1 3 /rebrandins- loki-messe n ger,/
                                                1
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both of which are applications that have frequently been used by individuals engaged in CSAM

activity due to their encryption and foreign ownership.

       Notably, May's Mega application had been registered in the name of "Eric Rentting", an

alias used by May in another context. Indeed. the examination of May's phone also yielded

evidence of an alias Facebook Account in the name of "Eric Rentling." The photo associated

with this Facebook Account appears to be a picture ofthe back ofMay's head. Additionally.

HSI located a series of conversations with female sex workers in the area around Medellin.

Colombia, a place well known for sex work. Between April 12, 2023 and Juty 31, 2024, there

were no Iess than 40 conversations with females using Facebook Instant Messenger via the alias

Facebook Account "Eric Rentling." These messages were in Spanish and consisted largely of

arranging "meet up" dates, time, price negotiations, and rules regarding the videoing of sexual

encouflters, all of which are indicative of sex work.

                                           .{ l{C trN{11NT

       The factors to be considered in determining whether to release a defendant pending trial

include: (l) the nature and circumstances ofthe offenses charged, including whether the offense

is a crime of violence or involves a minor victim; (2) the weight of the evidence against the

person; (3) the history and characteristics ofthe person, including family ties, the person,s

chamcter, ties to the community, and criminal history; and (4) the natue and seriousness of

danger to any person or the community that would be posed by the person's release. lg u.s.c.
                                                                                                  $

3142(g).

       Pursuant to l8 u.s.c. $ 3la2(ex3), there is a rebuttable presumption that no condition

or combination ofconditions will reasonably assure the appearance ofa defendant as required

and the safety ofthe community if there is probable cause to believe that a defendant committed

                                                 5
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     an offense involving a minor victim. including distribution of child pomography in violation ol

     18 U.S.C. $ 2252A. Moreover, for pretrial detention, the lack ofreasonable assurance ofeither

     the defendant's appearance or the safety ofothers in the community is suffrcient: both are not

     required. Unitecl Stales v. Stewarl.l9 F. Appx. 46, 48 (4th Cir. 2001).

               The Defendant should be detained pending trial under the circumstances of this case.

     Indeed, the factors enumerated in Section 3142(9) favor pretrial detention.

         I   . Nature and Circrrmstances of the Offense Chareed
               The mere possession and receipt of child pomography are serious offenses. but this

     defendant has distributed child pomography on numerous occasions to like-minded pedophiles

     who he gathered with in online communities w'here such behavior was normalized. Congress has

     deemed such offense a "crime of violence'' and has accordingly imposed a mandatory minimum

     offive years incarceration, up to twenty years, for each individual distribution ofchild

     pomography. Importantly. Defendant distributed approximately 220 different child pornography

     videos about 479 times over the course ol5 days. (May distributed the same video sometimes

     multiple times).

     Below are descriptions of the 10 specific videos that the Grand Jury indicted Defendant for

     distributing over the course ofbut a few days. These videos are representative and consistent

     with the totality of videos that Defendant distributed via Kik.

                    Distribution
I
    Count                                       Content Recovered from MAY's "joebidennnn6g" Account
                    on/about


                                       Video Length: 1:08
                    April 3.2024
                l
                                       Content ID (Last 4 Digits): 69c0

I               I
                                   I   Descri   ion: An adult rvornan is sitti   in the lionr           seat ofa I

                                                           6
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                          Distribution
        Count                                         Content Recovered from MAY's 'Joebidennnn69" Account
                          or/about
                                               car while nursing an infant. There is an adult male in the back seat
                                               w'ho is recording the mother nursing and then pans to his erect penis as
                                               he directs axother fully clothed child to t'ellate him. The adult male
                                               then pans the camera back to the infant and the woman in the fiont
                                               seat while the other child continues to fellate him.

                      I
                                               Sender IP Address: Ma1"'s phone & Nlay's Residence
    I



                      I
                                               In total. this video was distributed on five (5) separate occasions to     I

    I

                                               lhe     ditltrent Kik users.
                                           I
                                               Video Length: 0: l4

                                               Content ID (Last 4 Digits): 5841

           2              April 3. 202-1       Description: An adult male is penetrating the vagina of a toddler
                                               female. The toddler is wincing and has tears in her eyes and is clearly
                                               in pain.
    I



                                               Sender [P Address: May's Residence                                         I


                                                                                                                          I




                                               Video Length: l:35
                  I




                                               Content ID (Last 4 Digits): l3c8

                                               Description: A toddler is kneeling on her knees exposing her vagina
                          April 3.2024         and buttocks as an adult female licks the toddler's vagina and anus.
                                               The adult female then begins to rub a sexual device on the toddler's
                                               vagina and anus. The adult female is seen making a heart shape with
                                               her hands to the webcam and smiling as the toddler is peering through
                                               her legs in view of the adult.
I
                  I

                                               Sender IP Address:       's Residence
           +               April 3.2024
                                               Mdeo Length: l:57

                                               Content ID (Last 4 Digirs): 7018

I
                                               Description: The video is a compilation of short clips showing
                                               various minor females fellating different adult men. The video is
l
                                               customized u'ith music. The tirst video cli shows a     ubescent

                                                                  7
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                          Distribution
        Count                                               Content Recovered from MAY's 'Joebidennnn69" Account
                          on/about        I




                                              female wearing a Mardi Cras mask fellating an adult male. The
    i                                         prepubescent female's mouth is so small the adult male's penis does
                                              not fit inside her mouth. and she is only able to place her lips over
    I
                                              the tip olthe adult male's erect penis and use her tongue to lellate
                                              him. The second video clip shows a prepubescent female lying on
                                              her back on a fla1 surlace as the adult male ejaculates in her face.
                                              The prepubescent t'emale rvinces and closes her eyes tightly as to
                                              nol get semen in her eves. The third video clip shows a
                                              prepubescent fellating an animal: possibly a dog or a goar. The
                                              fourth. lifth and sixth video clips show diflerent adult men
                                              ejaculating on diftbrent toddler females' faces. The seventh video
                                              clip sho*'s a prepubescent female wearing sunglasses as she fellates
                                              an adult male. At the end of the video the prepubescent female tums
                                              to the camera and opens her mouth wide to show what appears to be
                                              semen in her mouth. The eighth video clip show a toddler female
                                              fellating an adult male and then spitting oul what appears to be
                                              semen. The ninth video clip shon's a prepubescent female holding
                                              an adult male's penis and spitting nhat appears to be semen from
                                              her mouth onto the adult male's penis. "Greets fly oul to all the little
                                              cock suckers" is displayed at rhe end of the video compilation.
                                              ("Greets" appears to be slang for "Greetings").

                                              Sender IP Address: May's Residence

                                              ln total, this video was distributed on fwo (2) separate occasions to
                                              two (2) dilferent Kik users
           l               April 1.2024
                      I
                                              Video Length: 0:12                                                         I




                                              Content ID (Lasr 4 Digits): 3a7a

I
                                              Description: A toddler female is sitting on her knees l'ellating an
                                              adult male u'ho is holding and pushing the back of the toddler's
                                              head towards his crotch. At the same time there is a difl'erent adult
                                              male who is penetrating the toddler's vagina or anus from behind.
                                              There are Hello Kitty sheets hanging in the background.

                                              Sender IP Address: May-'s Residence

                                              In total. this video was distributed on three (3) separate occasions to
                  I
                                              three   .,Jdifferent Kik users.
          6               April 1.2024
                                                                     8
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                      Distribution
        Count                                     Content Recovered from MAY's 'joebidennnn69" Account
                      on/about
                                           Video Length: I :42
                                       I




                                           Content ID (l.ast 4 Digits): 2928

                                           Description: A toddler boy is lying on his back with his legs spread       I

                                           apa( exposing his penis and anus as an adult woman is sitting over         I

                                           him rubbing her breasts. The adult tbmale londles the toddler's            I

                                           penis and then begins to fbllate him as she continues to rub her           I

                                           breasts. The toddler's penis is too small for the adult female to keep     I


                                           it lrom falling out of her mouth. Both the toddler boy and aduh i
                                           female are wearing black  masks.                                       1




                                                                                                                  l
                                           Sender lP Address: Ma-v's Residence                                    I
    I




           7           April 1.2024
    I
                                           Video Length: 1 :58

                                           Content ID (Last 4 Digits): 73d2

                                         Description: A toddler female is sitting on all four on her knees
                                       I uith                                                                     I


                                       I      her vagina   and buttocks in
                                                                       vierv      of t}e camera. An adult uses
                                       I his fingers to rub and penetrare rhe toddler female's vagina. The        I


                                       ] adult male turns rhe toddler over on her back and continues to rub       I




                                       I and penetrate her vagina with his fingers and eventually uses his        I


    I                                  ] erect penis to penetrare the toddler's vagina. The toddler's vagina is   I


    I
                                       I so small that the adult male's hand is bigger than rhe area of her       I


                                       I vagina and buttocks. The video skips to the toddler female lying on      I



                                       I her stomach and the adult male is standing behind as his erect penis     ]



                                       I penetrates the toddler's vagina. The toddler's vagina is so small        ]



                                       I that the adult male's erect penis falls out several times and he holds
                  I
                                       I his penis inside the toddler's vagina to keep it from slipping out.      I



                                       I The camera zooms in on the toddler's ragina shou.ing her vagina
                                       I and !,ulva as being red and irritated.
                                                                                                                  I



                                                                                                                  I
l


                                           Sender IP Address: May's Residence
                  I




           I           April I, 2024
                                           Video Length:0:32

I
                                           Content ID (Last 4 Digits): 63e8

                                           Descri tion: A naked toddler bo     rs stttrn on his knees on a bed
                                                             ()
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            Distribution
Count                               Content Recovered from MAY's 'Joebidennnn69" Account               I

            on/about
                             while a naked adult female is fellating him. At the same time
                             another child can be seen moving around on the bed behind the
                             toddler boy. The toddler's penis is so small that it thlls out of the
                             adult tbmale's mouth several times and she has to reinsert the penis
                             into her mouth.

                             Sender IP Address: Mav's Cell Phone & Mav's Residence

                             In total, this video was distributed on five (5) sepamte occasions to
                             fir'e (5) ditTerent Kik users.
   9         April 3. 2024
                             Video Length: l:l 5

                             Content ID (Last 4 Digits): d8e0

                             Description: An adult male is standing up with his pants and
                             underwear pulled doun to his mid thighs and his flaccid penis
                             exposed. A toddler female wearing a cartoon t-shirt walks up to him
                             grabs his penis with both hands and begins to fellate him. The
                             toddler female's hands are so small she must use both hands to hold
                             the adult male's tlaccid penis. The adult male can be heard
                             groaning with pleasure and saying, -ah shit" and directs the toddler
                             female to "go deep, go deep" as she pulls his penis further into her
                             mouth. The adult male then directs the toddler female to "look up
                             and tell me you are a Iifile slul". The toddler female then looks up at
                             the adult male and says. "l'm a little slut". The adult male can be
                             heard groaning with pleasure and directs the toddler female to "use
                             your tongue"; "oh my God, you're such a good girl" and "open your
                             mouth wide and let me fuck you in the face". At this point the adult
                             male's penis if fu11,,- erect and barley fits in the toddler female's     I



                             mouth: the tip of the penis is the only part of his penis that fits in
                             her mouth. The adult male directs the toddler female to look at the
                             camera and further directs her to "lick it up and down" at w.hich
                             times the toddler female uses her tongue to lick the tip of the adult
                             male's erect penis. The adult male then directs the toddler female, to
        I
                             "suck it" at which time she begins to f'ellate the tip of the adult
        I                    male's erect penis. and he groans with pleasure. There is a washer
                             and dryer in the background and other small children can be heard
                             in the background of the video talking and playing.

                             Sender IP Address: May's Residence                                        l




                                               l0
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          Distribution
Count                                 Content Recovered from MAY's "joebidennnn69" Account
          on/about
                                In total. this video was distributed on two (2) separate occasions to
                                two (2) different Kik users.
   10       April 4.2024    l                                                                             I

                                Video Length: 0:32
                                                                                                          I
                            I




                                Content ID (Last 4 Digits): eaab

                                Description: A naked toddler t-emale is seen standing in front of an
                                adult male u'hile fellating his erect penis. The adult male can be
                                heard asking. "do you like that" while toddler female looks up at the
                                camera and nods her head 'yes' then continues to fellate his erect
                                penis. The video clip skips to the adult male masturbating uhile
                                ejaculating on the toddler female's mouth u'hile he groans u,ith
                                pleasure. The toddler t-emale has her ey'es closed as to try not to get
                                any semen in her eyes. The adult male directs the toddler female to
                                look at him by saying, "let me see" and he adj ust her chin with his
                                hand that he is holding his penis with and tilts her head up towards
                                the camera. The toddler female looks at the camera and opens her
                                mouth as the adult male continues to masturbate. A toilet and
                                bathroom vanitv can be seen in the background.

                                Sender IP Address: May's Residence

                                In total. this video was distributed on two (2) sepamte occasions to
                                two (2) different Kik users.


        In addition to these distributions. May engaged in discussions with other like-minded

 pedophiles about the type of images he was interested in receiving back from them in exchange

 for what he sent. For example, in one conversation, May made express requests for familial

 incest themed child pomography.




        joebidennnn69:          Send the good stuff. Mom daughter, mom son, fucking, and vids

                                in Engtish

        joebidennnn69:          Or girl boy fucking.
                                                  t1
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       [redacted usemame]: Okay

       joebidennnn69: What'syourpreference?

       [redacted usemame]: Father daughter

       [redacted usemame]: You?

       joebidennnn69: Fathermomdaughter

       [redacted username]: I don't see many father mother daughter

       [redacted usemame]: Is there a good amount going around?

       joebidennnn69: No

       [redacted usemame]: Actually I might have one lemme look

       [redacted usemame]: Do you have any age 6-12?

       joebidennnn69: Yeah. Isn't that what I sent?
Importantly. May is the father of two young children under the age of 10. with whom he lives. ln

other words, his Kik activity reveals that he has a sexual interest in children the same age as his

own children. Moreover. his Kik activity clearly demonstrates that he has a sexual interest in

incest between a father (like himself) and young children (like his own children). as vl'ell as

incest between young children and their mother (like his wife).

   2. Weieht of the Evidence
       The weight ofthe evidence is very strong. An analysis of May's various electronic

devices reveals that he was engaged in illegal CSAM ac:tivity on Kik at the same time he was

engaged in everyday life activities. including texting his wife, emailing clients, and calling

others. For example, on April 1. 2024. he sent messages on Kik looking to trade CSAM with

others, while simultaneously sending a work email about a political yard sign, and then a few




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minutes later he was back on Kik informing another like-minded pedophile that he has CSAM

involving a mom and child. and two minutes later sent a CSAM video.

4t1t2024 joebidennm69_rfg                         Kik Chat                Trade?
l'1:.40:-16
4nt2024 joebidennrur69_rfg                        Kik Chat                Tradel)
l7:40:45
4fit2024 j oebidennnn69_rfg                       Kik Char                Yeah. One min
                                                                                                          I

17:42:31
4n/2024                                           MAY's Lenovo I Email Sub.lect: Yard Sign Dala
17:57:28 | ROBERT MAY                             Laptop
41U2024 joebidennnn69_rfg                         rit ctrat               I got bad moms. What you
18:00:19                                      I                           got?
4t1,t2024 joebidennnn69_rfg                       Kik Gallery             [...]c15 lda [CSAM video]
18:02:22                                      I                       I




         Similarly, on April 1,2024,May sent a CSAM video via Kik on his phone, and then

within 2 minutes he used his Facebook account to search South Carolina political candidates:

4/U2024           joebidennnn69_rfg     Kik Gallery         [...]aaSeaa [CSAM video]
18:23:57
4t1/2024          j oebidennnn69_rfg    Kik Group           Yo
18:24:30                                Chat            I



4nt2024           126t6643 ROBERT       Facebook            You searched Facebook 'troy simpson'
18:25:50          MAY
4n/2024           12616643 ROBERT       Facebook            You searched Facebook 'Troy Simpson'              I



18:25:53          MAY
4t1t2024          12616643 ROBERT       Facebook            You searched Facebook 'alan driggers for
              I
18:30:48          MAY                                       sheriff
411/2024          126t6643 ROBERT       Facebook            You searched Facebook 'alan driggers'             I

18:31:00          MAY
4nt2024           joebidennnn69_rfg     Kik Chat            Bad moms? S2R
                                                        I
18:35:30
4t1t2024          j oebidennnn69_rfg    Kik Gallery         [...]356624 [CSAM video]
18:37:27



          Also, on Apil 2,2024. May used his personal laptop to visit a website regarding South

Carolina legislation, and less than a minute later, he sent another CSAM video on Kik.



                                                   li
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4t212024       I MAY's Lenovo          MAY's       ] Site Visited: DEI Ban Passes SC House! -
0l :21:35          runton              Lenovo      I ivorytuskconsulting@gmail.com - Gmail
               I                       LaDtop      I

4/2t2024           joebidennnn69_r     Kik Gallery [...]Ibea53 [CSAM video]
0l:22:27           fs


         Additionally, while in the middle of a long session on Kik, May was also using his phone

to text with friends. For example, at l :10 on April 1't. he sent a text to two individuals saying

"Excellent" in response to a previous message. Immedialely thereafter" he sent another text. this

time to a different person, wishing her ''Happy Easter". Less than two minutes later, May sent a

CSAM video on Kik to a user. and less than 20 minutes later, he sent two more CSAM videos to

a different user.


4t1/2024      joebidennnn69_rfg       Kik Chat                           How amateur is amateur?
0l : I0:21



4/1t2024       7578766231 RJ          MAY's Android SM-              I
                                                                         Excellent
01 : l0:35     May III                G78lUl
4/112024       7578766231 RJ          MAY's Android SM-                  Amen! Happy Easter!
01:l l:11      May III                G78r Ul                                                          I


41y2024       joebidennnn69_rfg       Kik Gallery                        [...1e7d2b5 [CSAM video]
0l : I 3:03
4/1t2024      joebidenmn69_rfg        Kik Gallerv                        [...]ea08fl [CSAM video]
01:32:55
4t1t2024      joebidennnn69_rfg       Kik Gallery                        [...]f9779b [CSAM video]
0l:34:27


         In addition, May logged out of his public-facing Facebook account "Robert May,,and

then immediately logged into his clandestine "Eric Rentling" account and began communicating

with individuals in Colombia, including asking the age of a female. While still in his Rentling

alias account, he conducted Facebook searches on South Carolina political candidates, including

his own primary opponent.

4t2/2024           12616643 ROBERT          Facebook        Logout                                     I

16:19:44           MAY
                                                       l1
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4t2t2024      10008202s200707            Facebook        Login
16:19:55      ERIC RENTLING
4t2t2024      100082025200707            Facebook        Login
l6: l9:56     ERIC RENTLING
4t2t2024      100082025200707            Facebook        SI? bueno. Foto? ["YES? good. Photo?"]
16:.2O:21     ERIC RENTLING
4t2t2024      10008202s200707            Facebook        Qu6 edad tiene ella? ["How old is she?"]
16.'22:10     ERIC RENTLING
4t2t20?4      100082025200707            Facebook        Lo siento, he estado desaparecido. Tengo
l6:22:34      ERIC RENTLING                              que viajar mucho por trabajo en esta 6poca
                                                         del afio. ["Sorry, ['ve been MIA. I have to
                                                         travel a lot for work this time of year."l
412/2024      100082025200707            Facebook        You searched Facebook 'gray for sc house
16:22:46      ERIC RENTLING                              distrct 88'
4t2/2024      100082025200707            Facebook        You searched Facebook 'graye for sc
                                     I

l6:23:01      ERIC RENTLING                              house distrct 88'
412t2024      100082025200707            Facebook        You searched Facebook 'loralie graye for
                                     I
                                                                                                       I
15:23:i 1     ERIC RENTLING                              sc house distrct 88'



       This activity of switching between Facebook accounts is important for establishing the

weight of the evidence because May used the Rentling account to set up meetings with female

sex workers in advance of his travels to Medellin and Bogota. It is clear that May was the person

engaged in these activities because law enforcement located 9 videos on May's laptop that

showed him engaged in the exchange ofmoney with three different females prior to him having

sex with them in Colombia. Records have confirmed that May traveled to Colombia (Bogota and

Medellin) three times between April 2023 and July 2024.

        Two days later, on April 4, 2024, he did the same thing. logging out of his regular

Facebook account and logging into the Rentling account mere seconds later. after which he sent

a message to a female in Colombia and then conducted searches for South Carolina political


candidates. About two minutes after the Facebook searches, he was back on Kik. trying to

engage with people to trade CSAM. Just prior to logging out of his Facebook account (Robert

May), he was on 4chan searching for Kik groups on his personal laptop. ln response to a post in
                                                    l5
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a Kik chat, May used his laptop to look up the meaning of"hebephile" and "hebephilia" (the


erotic preference for pubescent children. roughly ages l2-14). May might have been unfamiliar

with that term, especially considering his demonstrated interest in plg-pubescent children.

414D024 i MAY's Lenovo                     MAY's Lenovo Laptop        Site Narne: /b/ - Don't be a fag
75:28:52 | Laptop                                                     kik.mdgd vS80B6ea0oCBAJ9rgF
                                                                                - Random - 4chan
4t4/2024        12616643 ROBERT            Facebook                   Logout
15:35:35        MAY
4t4D024          100082025200707           Facebook                   Login
l5:35:43         ERIC RENTLING
4t4/2024         10008202s200707           Facebook                   Login
l5:35:44         ERIC RENTLING
4t4t2024         100082025200707           Facebook                 Buenos dias hermosa ["Good
l5:36:38         ERIC RENTLING         I                            morning beautifi,rl"l
4/4t2024         100082025200707           Facebook                 You searched Facebook 'graye
15:38:51         ERIC RENTLING                                      for sc house'
4/4/2024         t00082025200707           Facebook                 You searched Facebook 'Lorelei
15:38:54         ERIC RENTLING                                      Graye for SC House'
4t4/2024         100082025200707           Facebook                 You searched Facebook 'dean
                                                                  l
l5'.39:57        ERIC RENTLING                                      widener'
4t4D024          100082025200707           Facebook                 You searched Facebook 'Dean
15:39:58         ERIC RENTLING                                      Widener'
4t4D024          r 00082025200707          Facebook                 You searched Facebook 'dean
l5:40:38         ERIC RENTLING                                        widener for sc house'
4/4/2024         100082025200707           Facebook                   You searched Facebook 'david
            I
15:42:02         ERIC RENTLING                                        martin for sc house'
4/4t2024         100082025200707           Facebook                   You searched Facebook 'paul
l5:45:22         EzuC RENTLTNG                                        wickensimer'
4t4n024          100082025200707           Facebook                   You searched Facebook 'paul
l5:45:38         ERIC RENTLING                                        wickensimer for sc house'
4t412024         100082025200707           Facebook                   You searched Facebook 'sarah
15:46:50         ERIC RENTLING                                        current for sc house'
4/4t2024         100082025200707           Facebook                   You searched Facebook 'sarah
15:47:55    I
                 ERIC RENTLING                                        curTan'
4/4t2024         100082025200707           Facebook                   You searched Facebook 'sarah
                                                                  I
l5:48: l2        ERIC RENTLING                                        cunan fore sc house'
414t2024        joebidennnn69_rfg          Kik Group Chat             What I miss?
                                                                  I
15:50:47
414/2024 j oebidennnn69_rfg                Kik Group Chat             Is this a 18+ group or?
                                                                  I
l5:59:07
4t4t2024        joebidennnn69 rfg          Kik Chat                   'lrade'J


                                                      16
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l6:03:16
4/4/2024 I MAYs    Lenovo           I UaV's Lenovo   Laptop i Google Search: bebe meaning
  l6:03:40 ll,aptop
  414/2024 | MAYs Lenovo            I MAYs Lenovo    Laptop I Google Search: hebephile
  l6:03:57   I                                                   I meamng
I 4t4t2024 MAY's Lenovo               MAYs Lenovo Laptop         I Web History: Hebephilia -
  l6:04:09


        Similarly, on April 3.2024,May used his cell phone to engage in a string of chats and

distributions ofCSAM from the Kik application. In the middle ofthat extended chat session.

May called his wife. Again, this further adds to the weight of the evidence, showing that the user

of the Kik account engaged in CSAM activity was in fact May, not some hacker.

4t3/2024 joebidennnn69_rlg         Kik                          [...]55604c [CSAM video]
 18:05:43                          Gallery
43 l?021 joebidennnn69_rfg         Kik                          [... 1e91 3c8 [CSAM video]
l8:05:43                           Gallen
4/3t2024 joebidennnn69_rfg         Kik                          [...]faa36d [CSAM video]
l8:05:44                           Gallery
4/3t2024 7578766231 RJ             Verizon   xrx-xxx-l418       Duration 00:00:09
18:06:24 May III                             BETH
                                             SLAWSON
 4t312024 joebidennnn69_rtg        Kik                          [...]05c08b [CSAM video]
                               I
 l8:12:-57                         Gallery


    3. History and Characteristics ofthe defendant
        Defendant is a 38-year-old married father of two small children who lives in the

Columbia area. He is an elected Representative of District 88 in the South Carolina State

Legislature. He also has a political consulting business that ties him to the community. May has

lived in this community and home environment, with the outward appearance of a family man

and upstanding citizen. However, the community ties he will claim weigh in favor of his release

pending trial are the same ties that he exploited to give him the appearance of law abidingness,

all while he was a member a different community that knew the real him: The community where
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he surreptitiously traded child pomography ofprepubescent children with other like-minded

pedophiles on Kik, engaged in online solicitation ofprostitution in a foreign country via an alias

Facebook account, and physically traveled to South America to engage in extra-marital

commercial sex with these other females.

        The online sexual exploitation ofchildren, such as the distribution ofchild pomography,

is a crime that is committed in secret. This secrecy, combined with the overwhelming presence

of digital devices and the near universal access to the intemet. makes detection ofthese criminal

olilenses quite difficult. It is not unusual, as is the case for this Defendant, for an offender to only

be discovered because he had the misfortune of law enforcement infiltrating a secret group of

Iike-minded offenders who use the Intemet to sexually abuse and exploit children.

       The mere lack ofan arrest record's significance should also be called into question in

cases involving the sexual exploitation ofchildren because it is well-knoun that children often

do not disclose sexual abuse. and that these types of crimes are all too often not reported to law

enforcement. See K. London, M. Bruck, S. J. Ceci & D. W. Shuman, Drsclosure of Child Sexual

Abuse: Wat Does the Research Tell Us About the Ways Children Tell?,ll PSYCHOLOGY,

PUB. POL'Y & L.1,194-226 (American Psychological Association, 2005) (finding in a study of

adult retrospective victim studies about child sex abuse. approximately 60 -70% of adults

sexually abused as children did not recall disclosing the abuse during childhood); see aiso D. w.

Smith, E. J. Letourneau. B. E. Saunders, D. G. Kilkpatrick. H. S. Resnick & C. L. Best, Delay in

Disclosure of Childhood Rape: Results from a National Sumey.24 CFIILD ABUSE &

NEGLECT 2, 273-87 (2000) (the results ofthe study found that only l27o ofchild rape victims'

assaults were reported to law enforcement authorities.).




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   .1. Nature and serio usness ofdanser to any Derson in the communi t\

       Finatly, this Court should consider the nature and seriousness ofthe danger to any person

or the community that would be posed by Defendant's release. ''The concem about safety is to be

given a broader construction than the mere danger ofphysical violence. Safety to the community

refers to the danger that the defendant might engage in criminal activiq' to the detriment ofthe

community." United States v. Kroeker, No. 22-3092, 2022 WL 2610344, at *4 (1oth Cir. July 8,

2022) (affirming detention in a case involving two counts of receiving and possessing child

pomography) (quoting Unired Srates v. Cook.880 F.2d I 158, 1 161 ( 1Oth Cir. 1989)).

       Similarly, Congress has determined that "the existence ofand traffic in child

pomographic images creates the potential for many types of harm in the community and presents

a clear and present danger to all children." United States v. Davrrz. No. l2-10141-EFM, 2012 WL

2359419, at *3 (D. Kan. June 20.2012) (quoting Pub. L. No. 104-208, $ 121. 110 Stat. 3009

(codified at l8 U.S.C. $ 2251)). That danger is specifically shown here by Defendant's trading of

images ofchild sexual abuse, which encourages further criminal activity by others. It is wholly

inappropriate to place Defendant back into the same home in which he was living while engaged

in criminal conduct and wherein he would be effectively unsupervised. Despite Pretrial Services'

best efforts, they are simply no match for a tech-savly man with the pressing desire to consume

child pornography.

       Internet crimes against children carry a unique feature in that they can be perpeuated

entirely fiom the privacy ofone's own home, and without the intervention or assistance of

others. Aside from near daily repeated, intrusive, unannounced visits by probation wherein a

probation officer conducts an exhaustive search ofa defendant's home, basement to attic (x,&ic&.



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importantly, probalion does nol have the outhority lo do), there is no real way for internet usage,

and specifically. cell phone usage, to be prevented and access to children restricted enthely.

       The intemet is easily accessible by a multitude of means and devices. See United States v.

Ybarra,No.2t-10061-JWB,2021 WL 3849470, at *4 (D. Kan. Aug. 27,2021) ("Access to the

intemet is gained not only fiom a home computer, but also from public computers and hand-held

devices which are readily available and easily concealed.") Even imposing conditions which

restrict Defendant from the intemet, computers, or cellphones cannot alleviate the danger

Defendant poses because means ofaccessing the intemet by someone who is strongly

predisposed to engage in the conduct at issue are still readily available. See Unitetl States v.

Renander,43 I F. Supp. 3d 1240, 1246 (D. Colo. 2020) ("Moreover. cellular devices are usually

small and easily concealed. Living with his parents and being subject to random searches by

Pretrial Services is therefore not a combination ofconditions that can reasonable enswe the

community's safery*.") Indeed, May engaged in this behavior on his cell phone and fiom his own

home on multiple occasions, presumably w'ithout his wife's knowledge. If he can hide this

criminal activity from the person he shares a bedroom with, then he can easily hide it from any

court enforcement mechanism. Furthermore, there is evidence that he has recently traveled to

South America to engage in commercial sex, again presumably without his wife's knowledge

that he ever even left the country. Thus, he is very likely to be able to evade detection by court

enforcement of release conditions.

       And when the Court considers the dangerousness of the alleged criminal conduct in this

case, the ability of Defendant 1o contirue his life unfettered by a restriction ofdetention pending

a quick and speedy trial, pales in comparison to the risk of his release to the very s6me home and


conditions in which he is alleged to have committed his criminal conduct. Indeed, "[o]ne of the

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tundamental dulies of govemment is public salbty, including protectinc children liom sexual

predators." United States v. l'icente Rosal Abad,350 F. 3d 793, 797 (8th Cir. 2003).

                                         CONCLUSION

       Based on the above facts. Defendant is a serious danger to the community. Less

restrictive conditions ofrelease, like location monitoring, are inappropriate considering the

allegations in this case involve Defendant violating some ofthe most heinous federal criminal

statutes that exist from the comfort of his home. Furthermore. the members of society that would

be most vulnerable to the danger Defendant's release poses are precisely those who are the least

capable ofprotecting themselves and those the Govemment has the highest burden to protect.

The United States urges this Court to find that there are no conditions or combination of

conditions that will reasonably assure Det'endant's appearance in court nor ensure the safety of

the community. Therefore, pusuant to Tille 18, United States Code, Sections 3 142(e)(3XE). the

Govemment requests that Defendant be detained pending trial.




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                                          Respectlully submitted.

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                                          UNITED STATES ATTORNEY


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